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 1   [counsel listed on signature page]
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 8                                  UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10                                     SAN FRANCISCO DIVISION

11   ORACLE AMERICA, INC.                                Case No. CV 10-03561 WHA
12                     Plaintiff,                        JOINT CLAIM CONSTRUCTION
                                                         AND PREHEARING STATEMENT
13          v.                                           (PATENT LOCAL RULE 4-3)
14   GOOGLE INC.                                         Dept.: Courtroom 9, 19th Floor
                                                         Judge: Honorable William H. Alsup
15                     Defendant.
16                                                       Tutorial: April 6, 2011, 1:30 p.m.

17                                                       Hearing: April 20, 2011, 1:30 p.m.

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     JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT
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 1             Pursuant to Patent L.R. 4-3, plaintiff Oracle America, Inc. (“Oracle”) and defendant
 2   Google Inc. (“Google”) hereby submit this Joint Claim Construction and Prehearing Statement.
 3             I.      PATENT L.R. 4-3(a): AGREED CONSTRUCTIONS
 4             The parties agree to the following constructions:
 5
     Claim Term or Phrase                     Patent       Construction
 6
     function                                  ‘205        a software routine (also called a subroutine,
 7                                                         procedure, member and method)
     machine instruction                       ‘205        an instruction that directs a computer to perform an
 8                                                         operation specified by an operation code (OP code)
                                                           and optionally one or more operands
 9
     native machine instruction /              ‘205        a machine instruction that is designed for a specific
10   native instruction                                    microprocessor or computer architecture (also called
                                                           native code)
11   virtual machine instructions              ‘205        a machine instruction that is designed for a software
                                                           emulated microprocessor or computer architecture
12
                                                           (also called virtual code)
13   A processor; A memory a class             ‘720        The “processor,” “memory,” and “class preloader”
     preloader…                                            are separate elements
14
     A processor; A memory means               ‘720        The “processor,” “memory,” and “means for
15   for executing…                                        executing” are separate elements

16

17             II.     PATENT L.R. 4-3(b): PROPOSED CONSTRUCTIONS OF DISPUTED
                       TERMS
18
               Pursuant to ¶ 5 of the Court’s November 19, 2010 Case Management Order (Dkt. 56), the
19
     parties request that the Court address the following six terms or phrases at the claim construction
20
     hearing:
21
               1.      resolve / resolving (‘104 patent)
22
               2.      computer-readable medium (‘104, ‘447, ‘476, and ‘520 patents) / computer usable
23
     medium (‘702 patent) / computer-readable storage medium (‘720 patent)1
24
               3.      intermediate form code / intermediate form object code (‘104 patent)
25
               4.      the play executing step (‘520 patent)
26

27   1
         Each party has proposed a construction that is identical for all three terms.
28
     JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT
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 1           5.      reduced class file (‘702 patent)
 2           6.      symbolic (data/field) reference (‘104 patent)
 3           The chart attached as Appendix A contain each party’s proposed constructions of these
 4   disputed claim phrases, together with an identification of intrinsic evidence and extrinsic evidence
 5   proffered by the parties in support of their constructions. Each party reserves the right to refer to
 6   the evidence proffered by the other.
 7           The chart attached as Appendix B contain each party’s proposed constructions of other
 8   disputed claim phrases, together with an identification of intrinsic evidence and extrinsic evidence
 9   proffered by the parties in support of their constructions. Each party reserves the right to refer to
10   the evidence proffered by the other.
11

12          III.     PATENT L.R. 4-3(c): TEN MOST SIGNIFICANT DISPUTED CLAIM
                     TERMS FOR CONSTRUCTION
13
             The parties here identify the ten claim terms whose constructions are believed to be most
14
     significant to the resolution of this case, as well as those whose construction is believed by either
15
     Google or Oracle to be case or claim dispositive:
16

17
                                                                                           Believed
      Claim Term or Phrase                                             Patent
18                                                                                        Dispositive?
      computer-readable medium / computer usable medium /         ‘104, ‘447, ‘476,
19                                                                                             Y
      computer-readable storage medium                            ‘520, ‘702, ‘720
20    symbolic (data/field) reference                                   ‘104                   Y
      reduced class file                                                ‘702                   Y
21
      resolve /
22                                                                      ‘104                   Y
      resolving
23    intermediate form code /
                                                                        ‘104                   Y
      intermediate form object code
24
      the play executing step                                           ‘520                   Y
25    class resolver / resolving                                        ‘720                   Y
26    class preloader                                                   ‘720                   Y

27    numeric(al) reference(s)                                          ‘104
      instruction                                                       ‘520                   Y
28
     JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT
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 1           In the process of narrowing the number of claim terms to be identified for the claim
 2   construction hearing, the parties dropped many of the claim terms initially identified for
 3   construction in their respective Local Patent Rule 4-1(a) and 4-2(a) Statements. As recognized in
 4   ¶ 5 of the Court’s November 19, 2010 Case Management Order (Dkt. 56), the parties believe that
 5   there may be disputes regarding the construction of claim terms not identified herein for
 6   construction that nevertheless become significant to the resolution of issues whether on summary
 7   judgment or at trial, and the parties therefore agreed that the lack of inclusion of a term in a
 8   party’s Local Patent Rule 4-1(a), 4-2(a) or 4-3 Statements or subsequent Markman briefing will
 9   not operate as any sort of waiver as to either party’s right to later seek construction of the term,
10   and will not prejudice in any way the right of either party to argue for a particular meaning of any
11   such claim terms in future proceedings in this action.
12

13
            IV.     PATENT L.R. 4-3(d): ANTICIPATED LENGTH OF CLAIM
14                  CONSTRUCTION HEARING

15           The parties anticipate that the claim construction hearing should last approximately three

16   hours, as the Court directs.

17

18          V.      PATENT L.R. 4-3(e): WITNESSES

19           The parties do not intend to call any witnesses at the claim construction hearing and

20   neither party has identified any percipient or expert witness pursuant to Local Patent Rules 4-2(b)

21   or 4-3(e).

22

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25           [signature pages follow]

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     JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT
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21
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22                                                       ORACLE AMERICA, INC.
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     JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT
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14
                                                          Attorneys for Defendant
15                                                        GOOGLE INC.
16

17

18                                       Attestation of Concurrence
19            I, Marc David Peters, as the ECF user and filer of this document, attest that concurrence in

20   the filing of this document has been obtained from each of the above signatories.

21
     Dated:     February 22, 2011                   By:    /s/ Marc David Peters
22                                                        Marc David Peters
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     JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT
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                                                                  Appendix A

                       Proposed Constructions and Evidence for the Six Phrases Submitted for Construction


Claim Term      Oracle Proposed Construction & Supporting Evidence                Google Proposed Construction & Supporting Evidence
computer-       a storage device for use by a computer                        any medium that participates in providing instructions to a
readable        Intrinsic Evidence:                                           processor for execution, including but not limited to, optical or
medium          Specification:                                                magnetic disks, dynamic memory, coaxial cables, copper wire,
(‘104 patent)                                                                 fiber optics, acoustic or light waves, radio-waves and infra-red
                1:20-2:9; 2:25-34; 3:31-67; Fig. 2
                                                                              data communications
                Extrinsic Evidence:
                                                                              Intrinsic/Extrinsic Evidence:
                DICTIONARY OF COMPUTER AND INTERNET TERMS media,
                                                                              ‘104 patent at 1:20-2:9; 2:25-34; 3:31-67; Fig. 2; and claims 11-41
                medium (7th ed. 2000)
                                                                              (In citing the foregoing portions of the ‘104 patent, Google does
                DICTIONARY OF COMPUTING data medium, medium                   not concede that this phrase has adequate support under 35 U.S.C.
                (1983)                                                        § 112).
                HARPER COLLINS DICTIONARY OF COMPUTER TERMS                   ‘520 patent at 4:48-54.
                medium (1991)
                                                                              ‘447 patent at 4:58-65; 5:4-6:16; Fig. 1.
                IBM DICTIONARY OF COMPUTING data medium, machine-
                                                                              ‘476 patent at 4:57-66; 5:4-6:18; Fig. 1.
                readable, machine-readable medium, medium (1994)
                                                                              ‘702 patent at 2:62-4:60; 5:61-6:20; 6:37-7:18; Figs. 1, 2.
                THE IEEE STANDARD DICTIONARY OF ELECTRICAL AND
                ELECTRONICS TERMS machine-readable medium, media,             ‘205 patent at 4:38-54; Fig. 1.
                medium (6th ed. 1996)                                         U.S. Patent No. 5,903,899 at 17:20-57.
                THE ILLUSTRATED DICTIONARY OF ELECTRONICS                     See also, other patents issued to Sun/Oracle that claim, define or
                medium (7th ed. 1997)                                         otherwise describe “computer-readable medium” or similar related
                THE ILLUSTRATED DICTIONARY OF MICROCOMPUTERS                  phrases (http://patft.uspto.gov/netacgi/nph-
                media, medium (3d ed. 1990)                                   Parser?Sect1=PTO2&Sect2=HITOFF&u=/netahtml/PTO/search-
                                                                              adv.htm&r=0&p=1&f=S&l=50&Query=AN/Sun+and+%22compu
                MCGRAW-HILL DICTIONARY OF SCIENTIFIC AND
                                                                              ter-readable+medium%22&d=PTXT). For example:
                TECHNICAL TERMS medium (5th ed. 1994)
                                                                              U.S. Patents Nos. 5,953,522; 5,946,489; 5,970,249; 5,978,588;
                MERRIAM-WEBSTER’S COLLEGIATE DICTIONARY media,
                                                                              5,983,021; 6,115,715; 6,853,868; 6,272,517; 6,271,838;
                medium (10th ed. 1996)
                                                                              6,542,920; 6,938,085; 6,983,455; 6,499,049; 6,952,760;
                MICROSOFT PRESS COMPUTER DICTIONARY media,                    6,980,916; 7,278,132; 5,630,136; 5,659,758; 7,213,240;
                medium (3d ed. 1997)                                          6,047,377; 6,044,467.
                U.S. Patent No. 6,529,903 to Smith et al., filed 12/26/2000   Upon information and belief, Sun’s Star7 (*7) was a prototype for


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Claim Term      Oracle Proposed Construction & Supporting Evidence                 Google Proposed Construction & Supporting Evidence
                U.S. Patent No. 7,650,330 to Brin, filed 12/15/2003           a SPARC based, handheld wireless PDA, with a 5” color LCD
                U.S. Patent No. 7,647,353 to Chandhok et al., filed           with touchscreen input, a new 16 bit --5:6:5 color hardware double
                11/14/2006                                                    buffered NTSC framebuffer, 900MHz wireless networking,
                U.S. Patent No. 7,249,121 to Bharat et al., filed             PCMCIA bus interfaces, multi-media audio codec, a new power
                12/05/2000                                                    supply/battery interface, a version of Unix that runs in under a
                                                                              megabyte, including drivers for PCMCIA, radio networking,
                U.S. Patent No. 7,146,358 to Gravano et al., filed
                                                                              touchscreen, display, flash RAM file system, execute-in-place,
                08/28/2001
                                                                              split I/D cache, with cached framebuffer support, a new small,
                U.S. Patent No. 7,027,987 to Franz et al., filed 02/07/2001   safe, secure, distributed, robust, interpreted, garbage collected,
                U.S. Patent No. 6,839,702 to Patel et al., filed 12/13/2000   multi-threaded, architecture neutral, high performance, dynamic
                U.S. Patent No. 6,678,681 to Brin, filed 03/09/2000           programming language, While the Star7 may have never entered
                U.S. Patent No. 6,735,624 to Rubin et al., filed              commercial production, Oak, the language behind it all, became
                04/07/2000                                                    the very popular Java programming language. See generally,
                U.S. Patent No. 6,721,804 to Rubin et al., filed              http://www.youtube.com/watch?v=Ahg8OBYixL0;
                11/15/2000                                                    http://www.helium.com/items/1101180-the-history-of-java;
                U.S. Patent No. 6,701,522 to Rubin et al., filed              https://duke.dev.java.net/green/; Todd Greanier, Java foundations
                04/07/2000                                                    (Sep 17, 2004) at 2-3
                                                                              (http://books.google.com/books?id=vbBXKgDJun0C&pg=PA2&l
                and similar patents and patent applications                   pg=PA2&dq=sun+star7+gosling&source=bl&ots=LeQNYvs_DE
                USPTO Examination Guidelines for Computer-Related             &sig=IR3Wp6fNM58OFdyIzz3sEqgCTi4&hl=en&ei=d89eTaKS
                Inventions (1996)                                             EoKBlAeAtYCfDA&sa=X&oi=book_result&ct=result&resnum=
                                                                              8&ved=0CEgQ6AEwBw#v=onepage&q=sun%20star7%20goslin
                                                                              g&f=false).
intermediate    executable code that is generated by compiling source         compiled source code that is not executable code for a specific
form (object)   code and is independent of any computer instruction set       computer architecture
code            Intrinsic Evidence:                                           Intrinsic/Extrinsic Evidence:
(‘104 patent)   Specification:                                                ‘104 patent at Abstract; 1:26-32; 1:58-2:15; 2:25-67; 4:13-5:49;
                Title; Abstract; 1:58-2:9; 2:25-67; 4:13-5:49; Figs. 4-8      Figs. 4-8; and claims 11, 12, 17, 19-23, 27-35, and 39-41.
                Prosecution history:                                          U.S. Patent No. 5,367,685 File History, May 27, 1994, Examiner’s
                May 27, 1994 ‘685 Examiner’s Statement of Reasons for         Statement of Reasons for Allowance.
                Allowance                                                     Timothy Budd, A Little Smalltalk, Addison-Wesley, 1987, pp.
                                                                              150-60.
                                                                              Richard L. Sites & Daniel R. Perkins, “Univeral P-Code
                                                                              Definition, version (0.3),” Dept. of Electrical Eng’g and Computer

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Claim Term      Oracle Proposed Construction & Supporting Evidence                 Google Proposed Construction & Supporting Evidence
                                                                               Sciences, University of California at San Diego, July 1979,
                                                                               Abstract.
                                                                               Ali-Reza Adl-Tabatabai et al., “Efficient and Language-
                                                                               Independent Mobile Programs,” Proceedings of PLDI ‘96, ACM
                                                                               SIGPlAN ‘96 Conf. on Programming Language Design and
                                                                               Implementation, May 1996, pp. 134.
                                                                               Tanenbaum et al., “A Practical Tool Kit for Making Portable
                                                                               Compilers,” Computing Practices, Communications of the ACM,
                                                                               Sept. 1983, Vol. 26, No. 9, pp. 654-60.
                                                                               A.V. Aho et al., Compilers Principles, Techniques and Tools,
                                                                               Addison-Wesly, 1986, pp. 25-388 and 463-512.
                                                                               David Gries, Compiler Construction for Digital Computers, John
                                                                               Wiley & Sons, Inc., 1971, pp. 2-3, 245-46, 328-31.
resolve /       No construction necessary. “Resolving” a symbolic              replace/replacing at least for the life of the process
resolving       reference is determining its corresponding numerical           Intrinsic/Extrinsic Evidence:
(‘104 patent)   reference.                                                     ‘104 patent at Abstract; 1:15-20; 1:25-43; 1:58-2:67; 5:9-49; and
                Intrinsic Evidence:                                            Figs. 1, 6-8.
                Specification:
                Title; Abstract; 1:15-20; 1:25-43; 1:58-2:9; 2:16-25; 2:25-
                59; 3:8-9; 3:26-48; 5:9-23; 5:32-49; Figs. 1, 6, 7, 8
                Extrinsic Evidence:
                Gosling et al., THE JAVA™ LANGUAGE SPECIFICATION
                221 (1996) (“The binary representation of a class or
                interface references other classes or interfaces and their
                fields, methods, and constructors symbolically, using the
                binary names (§13.1) of the other classes and interfaces
                (§13.1)…Before a symbolic reference can be used it must
                undergo resolution, wherein a symbolic reference is
                checked to be correct and, typically, replaced with a direct
                reference that can be more efficiently processed if the
                reference is used repeatedly.”)




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Claim Term      Oracle Proposed Construction & Supporting Evidence             Google Proposed Construction & Supporting Evidence
symbolic        No construction necessary. The ordinary meaning is “a     a dynamic reference to data that is string- or character-based
(data/field)    reference by name”                                        Intrinsic/Extrinsic Evidence:
reference(s)    Intrinsic Evidence:                                       ‘104 patent at Abstract, 1:58-2:15; 2:35-59; 4:13-46; 5:10-23;
(‘104 patent)   Specification:                                            5:32-49; Figs. 1A, 1B, 5-8; and claims 11-41.
                Abstract; 1:58-2:15; 2:35-59; 4:13-46; 5:9-23; 5:31-49;   Computer Dictionary, Second Ed., Microsoft Press 1994 (“MSFT
                Figs. 1B, 5, 6, 7, 8                                      1994”):
                                                                          “Symbolic address A memory address that can be referred to in a
                                                                          program by name rather than by number. The interpreter,
                                                                          compiler, or assembler translates the name into the number that
                                                                          specifies the address.”
                                                                          Random House Webster’s Computer & Internet Dictionary (3d ed.
                                                                          1999):
                                                                          “absolute address A fixed address in memory. The term
                                                                          absolute distinguishes it from a relative address, which indicates a
                                                                          location by specifying a distance from another location. Absolute
                                                                          addresses are also called real addresses and machine addresses.”
                                                                          Webster’s New World Dictionary of Computer Terms (5th ed.
                                                                          1994):
                                                                          “absolute addressing A method of machine addressing in which
                                                                          the address part of an instruction contains an absolute address.”
                                                                          “numeric Pertaining to numerals or to representation by means of
                                                                          numerals. Compare ALPHANUMERIC.”
                                                                          “numeric character Same as DIGIT.”
                                                                          “symbolic address An address, expressed in symbols convenient
                                                                          to the program writer, that must be translated into an absolute
                                                                          address (usually by an assembler) before it can be interpreted by a
                                                                          computer. Contrast with EXPLICIT ADDRESS.”
                                                                          “symbol table A list of names used in a program with brief
                                                                          descriptions and storage addresses.”




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Claim Term      Oracle Proposed Construction & Supporting Evidence                 Google Proposed Construction & Supporting Evidence
computer-       a storage device for use by a computer                        any medium that participates in providing instructions to a
readable        Intrinsic Evidence:                                           processor for execution, including but not limited to, optical or
medium          Specification:                                                magnetic disks, dynamic memory, coaxial cables, copper wire,
(‘447 patent)                                                                 fiber optics, acoustic or light waves, radio-waves and infra-red
                4:59-65; 5:4-2; 5:25-30; Fig. 1
                                                                              data communications
                Extrinsic Evidence:
                                                                              Intrinsic/Extrinsic Evidence:
                DICTIONARY OF COMPUTER AND INTERNET TERMS media,
                                                                              ‘104 patent at 1:20-2:9; 2:25-34; 3:31-67; Fig. 2 (In citing the
                medium (7th ed. 2000)
                                                                              foregoing portions of the ‘104 patent, Google does not concede
                DICTIONARY OF COMPUTING data medium, medium                   that this phrase has adequate support under 35 U.S.C. § 112).
                (1983)
                                                                              ‘520 patent at 4:48-54.
                HARPER COLLINS DICTIONARY OF COMPUTER TERMS
                                                                              ‘447 patent at 4:58-65; 5:4-6:16; Fig. 1.
                medium (1991)
                                                                              ‘476 patent at 4:57-66; 5:4-6:18; Fig. 1.
                IBM DICTIONARY OF COMPUTING data medium, machine-
                readable, machine-readable medium, medium (1994)              ‘702 patent at 2:62-4:60; 5:61-6:20; 6:37-7:18; Figs. 1, 2.
                THE IEEE STANDARD DICTIONARY OF ELECTRICAL AND                ‘205 patent at 4:38-54; Fig. 1.
                ELECTRONICS TERMS machine-readable medium, media,             U.S. Patent No. 5,903,899 at 17:20-57.
                medium (6th ed. 1996)                                         See also, other patents issued to Sun/Oracle that claim, define or
                THE ILLUSTRATED DICTIONARY OF ELECTRONICS                     otherwise describe “computer-readable medium” or similar related
                medium (7th ed. 1997)                                         phrases (http://patft.uspto.gov/netacgi/nph-
                THE ILLUSTRATED DICTIONARY OF MICROCOMPUTERS                  Parser?Sect1=PTO2&Sect2=HITOFF&u=/netahtml/PTO/search-
                media, medium (3d ed. 1990)                                   adv.htm&r=0&p=1&f=S&l=50&Query=AN/Sun+and+%22compu
                                                                              ter-readable+medium%22&d=PTXT). For example:
                MCGRAW-HILL DICTIONARY OF SCIENTIFIC AND
                TECHNICAL TERMS medium (5th ed. 1994)                         U.S. Patents Nos. 5,953,522; 5,946,489; 5,970,249; 5,978,588;
                                                                              5,983,021; 6,115,715; 6,853,868; 6,272,517; 6,271,838;
                MERRIAM-WEBSTER’S COLLEGIATE DICTIONARY media,
                                                                              6,542,920; 6,938,085; 6,983,455; 6,499,049; 6,952,760;
                medium (10th ed. 1996)
                                                                              6,980,916; 7,278,132; 5,630,136; 5,659,758; 7,213,240;
                MICROSOFT PRESS COMPUTER DICTIONARY media,                    6,047,377; 6,044,467.
                medium (3d ed. 1997)
                                                                              Upon information and belief, Sun’s Star7 (*7) was a prototype for
                U.S. Patent No. 6,529,903 to Smith et al., filed 12/26/2000   a SPARC based, handheld wireless PDA, with a 5” color LCD
                U.S. Patent No. 7,650,330 to Brin, filed 12/15/2003           with touchscreen input, a new 16 bit --5:6:5 color hardware double
                U.S. Patent No. 7,647,353 to Chandhok et al., filed           buffered NTSC framebuffer, 900MHz wireless networking,
                11/14/2006                                                    PCMCIA bus interfaces, multi-media audio codec, a new power
                U.S. Patent No. 7,249,121 to Bharat et al., filed             supply/battery interface, a version of Unix that runs in under a
                12/05/2000                                                    megabyte, including drivers for PCMCIA, radio networking,


JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT
                                                                                                                                                   10
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Claim Term      Oracle Proposed Construction & Supporting Evidence                 Google Proposed Construction & Supporting Evidence
                U.S. Patent No. 7,146,358 to Gravano et al., filed            touchscreen, display, flash RAM file system, execute-in-place,
                08/28/2001                                                    split I/D cache, with cached framebuffer support, a new small,
                U.S. Patent No. 7,027,987 to Franz et al., filed 02/07/2001   safe, secure, distributed, robust, interpreted, garbage collected,
                U.S. Patent No. 6,839,702 to Patel et al., filed 12/13/2000   multi-threaded, architecture neutral, high performance, dynamic
                                                                              programming language, While the Star7 may have never entered
                U.S. Patent No. 6,678,681 to Brin, filed 03/09/2000
                                                                              commercial production, Oak, the language behind it all, became
                U.S. Patent No. 6,735,624 to Rubin et al., filed              the very popular Java programming language. See generally,
                04/07/2000                                                    http://www.youtube.com/watch?v=Ahg8OBYixL0;
                U.S. Patent No. 6,721,804 to Rubin et al., filed              http://www.helium.com/items/1101180-the-history-of-java;
                11/15/2000                                                    https://duke.dev.java.net/green/; Todd Greanier, Java foundations
                U.S. Patent No. 6,701,522 to Rubin et al., filed              (Sep 17, 2004) at 2-3
                04/07/2000                                                    (http://books.google.com/books?id=vbBXKgDJun0C&pg=PA2&l
                and similar patents and patent applications                   pg=PA2&dq=sun+star7+gosling&source=bl&ots=LeQNYvs_DE
                USPTO Examination Guidelines for Computer-Related             &sig=IR3Wp6fNM58OFdyIzz3sEqgCTi4&hl=en&ei=d89eTaKS
                Inventions (1996)                                             EoKBlAeAtYCfDA&sa=X&oi=book_result&ct=result&resnum=
                                                                              8&ved=0CEgQ6AEwBw#v=onepage&q=sun%20star7%20goslin
                                                                              g&f=false).
computer-       a storage device for use by a computer                        any medium that participates in providing instructions to a
readable        Intrinsic Evidence:                                           processor for execution, including but not limited to, optical or
medium          Specification:                                                magnetic disks, dynamic memory, coaxial cables, copper wire,
(‘476 patent)                                                                 fiber optics, acoustic or light waves, radio-waves and infra-red
                4:57-65; 5:4-25; 5:25-30; Fig. 1
                                                                              data communications
                Extrinsic Evidence:
                                                                              Intrinsic/Extrinsic Evidence:
                DICTIONARY OF COMPUTER AND INTERNET TERMS media,
                                                                              ‘104 patent at 1:20-2:9; 2:25-34; 3:31-67; Fig. 2 (In citing the
                medium (7th ed. 2000)
                                                                              foregoing portions of the ‘104 patent, Google does not concede
                DICTIONARY OF COMPUTING data medium, medium                   that this phrase has adequate support under 35 U.S.C. § 112).
                (1983)
                                                                              ‘520 patent at 4:48-54.
                HARPER COLLINS DICTIONARY OF COMPUTER TERMS
                                                                              ‘447 patent at 4:58-65; 5:4-6:16; Fig. 1.
                medium (1991)
                                                                              ‘476 patent at 4:57-66; 5:4-6:18; Fig. 1.
                IBM DICTIONARY OF COMPUTING data medium, machine-
                readable, machine-readable medium, medium (1994)              ‘702 patent at 2:62-4:60; 5:61-6:20; 6:37-7:18; Figs. 1, 2.
                THE IEEE STANDARD DICTIONARY OF ELECTRICAL AND                ‘205 patent at 4:38-54; Fig. 1.
                ELECTRONICS TERMS machine-readable medium, media,             U.S. Patent No. 5,903,899 at 17:20-57.
                medium (6th ed. 1996)                                         See also, other patents issued to Sun/Oracle that claim, define or


JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT
                                                                                                                                                   11
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Claim Term    Oracle Proposed Construction & Supporting Evidence                 Google Proposed Construction & Supporting Evidence
              THE ILLUSTRATED DICTIONARY OF ELECTRONICS                     otherwise describe “computer-readable medium” or similar related
              medium (7th ed. 1997)                                         phrases (http://patft.uspto.gov/netacgi/nph-
              THE ILLUSTRATED DICTIONARY OF MICROCOMPUTERS                  Parser?Sect1=PTO2&Sect2=HITOFF&u=/netahtml/PTO/search-
              media, medium (3d ed. 1990)                                   adv.htm&r=0&p=1&f=S&l=50&Query=AN/Sun+and+%22compu
              MCGRAW-HILL DICTIONARY OF SCIENTIFIC AND                      ter-readable+medium%22&d=PTXT). For example:
              TECHNICAL TERMS medium (5th ed. 1994)                         U.S. Patents Nos. 5,953,522; 5,946,489; 5,970,249; 5,978,588;
              MERRIAM-WEBSTER’S COLLEGIATE DICTIONARY media,                5,983,021; 6,115,715; 6,853,868; 6,272,517; 6,271,838;
              medium (10th ed. 1996)                                        6,542,920; 6,938,085; 6,983,455; 6,499,049; 6,952,760;
                                                                            6,980,916; 7,278,132; 5,630,136; 5,659,758; 7,213,240;
              MICROSOFT PRESS COMPUTER DICTIONARY media,
                                                                            6,047,377; 6,044,467.
              medium (3d ed. 1997)
                                                                            Upon information and belief, Sun’s Star7 (*7) was a prototype for
              U.S. Patent No. 6,529,903 to Smith et al., filed 12/26/2000
                                                                            a SPARC based, handheld wireless PDA, with a 5” color LCD
              U.S. Patent No. 7,650,330 to Brin, filed 12/15/2003           with touchscreen input, a new 16 bit --5:6:5 color hardware double
              U.S. Patent No. 7,647,353 to Chandhok et al., filed           buffered NTSC framebuffer, 900MHz wireless networking,
              11/14/2006                                                    PCMCIA bus interfaces, multi-media audio codec, a new power
              U.S. Patent No. 7,249,121 to Bharat et al., filed             supply/battery interface, a version of Unix that runs in under a
              12/05/2000                                                    megabyte, including drivers for PCMCIA, radio networking,
              U.S. Patent No. 7,146,358 to Gravano et al., filed            touchscreen, display, flash RAM file system, execute-in-place,
              08/28/2001                                                    split I/D cache, with cached framebuffer support, a new small,
              U.S. Patent No. 7,027,987 to Franz et al., filed 02/07/2001   safe, secure, distributed, robust, interpreted, garbage collected,
              U.S. Patent No. 6,839,702 to Patel et al., filed 12/13/2000   multi-threaded, architecture neutral, high performance, dynamic
                                                                            programming language, While the Star7 may have never entered
              U.S. Patent No. 6,678,681 to Brin, filed 03/09/2000           commercial production, Oak, the language behind it all, became
              U.S. Patent No. 6,735,624 to Rubin et al., filed              the very popular Java programming language. See generally,
              04/07/2000                                                    http://www.youtube.com/watch?v=Ahg8OBYixL0;
              U.S. Patent No. 6,721,804 to Rubin et al., filed              http://www.helium.com/items/1101180-the-history-of-java;
              11/15/2000                                                    https://duke.dev.java.net/green/; Todd Greanier, Java foundations
              U.S. Patent No. 6,701,522 to Rubin et al., filed              (Sep 17, 2004) at 2-3
              04/07/2000                                                    (http://books.google.com/books?id=vbBXKgDJun0C&pg=PA2&l
              and similar patents and patent applications                   pg=PA2&dq=sun+star7+gosling&source=bl&ots=LeQNYvs_DE
              USPTO Examination Guidelines for Computer-Related             &sig=IR3Wp6fNM58OFdyIzz3sEqgCTi4&hl=en&ei=d89eTaKS
              Inventions (1996)                                             EoKBlAeAtYCfDA&sa=X&oi=book_result&ct=result&resnum=
                                                                            8&ved=0CEgQ6AEwBw#v=onepage&q=sun%20star7%20goslin
                                                                            g&f=false).


JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT
                                                                                                                                                 12
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Claim Term      Oracle Proposed Construction & Supporting Evidence                Google Proposed Construction & Supporting Evidence
computer-       a storage device for use by a computer                        any medium that participates in providing instructions to a
readable        Intrinsic Evidence:                                           processor for execution, including but not limited to, optical or
medium          Specification:                                                magnetic disks, dynamic memory, coaxial cables, copper wire,
(‘520 patent)                                                                 fiber optics, acoustic or light waves, radio-waves and infra-red
                3:17-30; 4:48-56; 11:14-16; Fig. 2
                                                                              data communications
                Extrinsic Evidence:
                                                                              Intrinsic/Extrinsic Evidence:
                DICTIONARY OF COMPUTER AND INTERNET TERMS media,
                                                                              ‘104 patent at 1:20-2:9; 2:25-34; 3:31-67; Fig. 2 (In citing the
                medium (7th ed. 2000)
                                                                              foregoing portions of the ‘104 patent, Google does not concede
                DICTIONARY OF COMPUTING data medium, medium                   that this phrase has adequate support under 35 U.S.C. § 112).
                (1983)
                                                                              ‘520 patent at 4:48-54.
                HARPER COLLINS DICTIONARY OF COMPUTER TERMS
                                                                              ‘447 patent at 4:58-65; 5:4-6:16; Fig. 1.
                medium (1991)
                                                                              ‘476 patent at 4:57-66; 5:4-6:18; Fig. 1.
                IBM DICTIONARY OF COMPUTING data medium, machine-
                readable, machine-readable medium, medium (1994)              ‘702 patent at 2:62-4:60; 5:61-6:20; 6:37-7:18; Figs. 1, 2.
                THE IEEE STANDARD DICTIONARY OF ELECTRICAL AND                ‘205 patent at 4:38-54; Fig. 1.
                ELECTRONICS TERMS machine-readable medium, media,             U.S. Patent No. 5,903,899 at 17:20-57.
                medium (6th ed. 1996)                                         See also, other patents issued to Sun/Oracle that claim, define or
                THE ILLUSTRATED DICTIONARY OF ELECTRONICS                     otherwise describe “computer-readable medium” or similar related
                medium (7th ed. 1997)                                         phrases (http://patft.uspto.gov/netacgi/nph-
                THE ILLUSTRATED DICTIONARY OF MICROCOMPUTERS                  Parser?Sect1=PTO2&Sect2=HITOFF&u=/netahtml/PTO/search-
                media, medium (3d ed. 1990)                                   adv.htm&r=0&p=1&f=S&l=50&Query=AN/Sun+and+%22compu
                                                                              ter-readable+medium%22&d=PTXT). For example:
                MCGRAW-HILL DICTIONARY OF SCIENTIFIC AND
                TECHNICAL TERMS medium (5th ed. 1994)                         U.S. Patents Nos. 5,953,522; 5,946,489; 5,970,249; 5,978,588;
                                                                              5,983,021; 6,115,715; 6,853,868; 6,272,517; 6,271,838;
                MERRIAM-WEBSTER’S COLLEGIATE DICTIONARY media,
                                                                              6,542,920; 6,938,085; 6,983,455; 6,499,049; 6,952,760;
                medium (10th ed. 1996)
                                                                              6,980,916; 7,278,132; 5,630,136; 5,659,758; 7,213,240;
                MICROSOFT PRESS COMPUTER DICTIONARY media,                    6,047,377; 6,044,467.
                medium (3d ed. 1997)
                                                                              Upon information and belief, Sun’s Star7 (*7) was a prototype for
                U.S. Patent No. 6,529,903 to Smith et al., filed 12/26/2000   a SPARC based, handheld wireless PDA, with a 5” color LCD
                U.S. Patent No. 7,650,330 to Brin, filed 12/15/2003           with touchscreen input, a new 16 bit --5:6:5 color hardware double
                U.S. Patent No. 7,647,353 to Chandhok et al., filed           buffered NTSC framebuffer, 900MHz wireless networking,
                11/14/2006                                                    PCMCIA bus interfaces, multi-media audio codec, a new power
                U.S. Patent No. 7,249,121 to Bharat et al., filed             supply/battery interface, a version of Unix that runs in under a
                12/05/2000                                                    megabyte, including drivers for PCMCIA, radio networking,


JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT
                                                                                                                                                   13
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Claim Term      Oracle Proposed Construction & Supporting Evidence                 Google Proposed Construction & Supporting Evidence
                U.S. Patent No. 7,146,358 to Gravano et al., filed            touchscreen, display, flash RAM file system, execute-in-place,
                08/28/2001                                                    split I/D cache, with cached framebuffer support, a new small,
                U.S. Patent No. 7,027,987 to Franz et al., filed 02/07/2001   safe, secure, distributed, robust, interpreted, garbage collected,
                U.S. Patent No. 6,839,702 to Patel et al., filed 12/13/2000   multi-threaded, architecture neutral, high performance, dynamic
                                                                              programming language, While the Star7 may have never entered
                U.S. Patent No. 6,678,681 to Brin, filed 03/09/2000
                                                                              commercial production, Oak, the language behind it all, became
                U.S. Patent No. 6,735,624 to Rubin et al., filed              the very popular Java programming language. See generally,
                04/07/2000                                                    http://www.youtube.com/watch?v=Ahg8OBYixL0;
                U.S. Patent No. 6,721,804 to Rubin et al., filed              http://www.helium.com/items/1101180-the-history-of-java;
                11/15/2000                                                    https://duke.dev.java.net/green/; Todd Greanier, Java foundations
                U.S. Patent No. 6,701,522 to Rubin et al., filed              (Sep 17, 2004) at 2-3
                04/07/2000                                                    (http://books.google.com/books?id=vbBXKgDJun0C&pg=PA2&l
                and similar patents and patent applications                   pg=PA2&dq=sun+star7+gosling&source=bl&ots=LeQNYvs_DE
                USPTO Examination Guidelines for Computer-Related             &sig=IR3Wp6fNM58OFdyIzz3sEqgCTi4&hl=en&ei=d89eTaKS
                Inventions (1996)                                             EoKBlAeAtYCfDA&sa=X&oi=book_result&ct=result&resnum=
                                                                              8&ved=0CEgQ6AEwBw#v=onepage&q=sun%20star7%20goslin
                                                                              g&f=false).
the play        “The play executing step” in claims 3 and 4 is a reference    Indefinite – cannot be construed.
executing       to the “simulating execution” step in claim 1
step            Intrinsic Evidence:
(‘520 patent)   Specification:
                2:64-3:1; 3:10-16; 4:64-66; 5:11-16; 5:44-63; original
                claims 3, 4, 5
                Prosecution history:
                July 21, 1999 Office Action; Oct. 18, 1999 Amendment;
                Jan. 4, 2000 Notice of Allowance; Jan. 4, 2000 Interview
                Summary
computer        a storage device for use by a computer                        any medium that participates in providing instructions to a
usable          Intrinsic Evidence:                                           processor for execution, including but not limited to, optical or
medium          Specification:                                                magnetic disks, dynamic memory, coaxial cables, copper wire,
(‘702 patent)                                                                 fiber optics, acoustic or light waves, radio-waves and infra-red
                5:61-6:18; 7:10-14; Figs. 1, 2
                                                                              data communications
                Extrinsic Evidence:
                                                                              Intrinsic/Extrinsic Evidence:
                DICTIONARY OF COMPUTER AND INTERNET TERMS media,

JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT
                                                                                                                                                   14
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Claim Term    Oracle Proposed Construction & Supporting Evidence                 Google Proposed Construction & Supporting Evidence
              medium (7th ed. 2000)                                         ‘520 patent at 4:48-54.
              DICTIONARY OF COMPUTING data medium, medium                   ‘447 patent at 4:58-65; 5:4-6:16; Fig. 1.
              (1983)                                                        ‘476 patent at 4:57-66; 5:4-6:18; Fig. 1.
              HARPER COLLINS DICTIONARY OF COMPUTER TERMS                   ‘702 patent at 2:62-4:60; 5:61-6:20; 6:37-7:18; Figs. 1, 2.
              medium (1991)                                                 ‘205 patent at 4:38-54; Fig. 1.
              IBM DICTIONARY OF COMPUTING data medium, machine-             See also, other patents issued to Sun/Oracle that claim, define or
              readable, machine-readable medium, medium (1994)              otherwise describe “computer usable medium” or similar related
              THE IEEE STANDARD DICTIONARY OF ELECTRICAL AND                phrases (http://patft.uspto.gov/netacgi/nph-
              ELECTRONICS TERMS machine-readable medium, media,             Parser?Sect1=PTO2&Sect2=HITOFF&u=/netahtml/PTO/search-
              medium (6th ed. 1996)                                         adv.htm&r=0&p=1&f=S&l=50&Query=AN/Sun+and+%22compu
              THE ILLUSTRATED DICTIONARY OF ELECTRONICS                     ter+usable+medium%22&d=PTXT). For example:
              medium (7th ed. 1997)                                         U.S. Patents Nos. 5,953,522; 5,946,489; 5,970,249; 5,978,588;
              THE ILLUSTRATED DICTIONARY OF MICROCOMPUTERS                  5,983,021; 6,115,715; 6,853,868; 6,272,517; 6,271,838;
              media, medium (3d ed. 1990)                                   6,542,920; 6,938,085; 6,983,455; 6,499,049; 6,952,760;
              MCGRAW-HILL DICTIONARY OF SCIENTIFIC AND                      6,980,916; 7,278,132; 5,630,136; 5,659,758; 7,213,240;
              TECHNICAL TERMS medium (5th ed. 1994)                         6,047,377; 6,044,467.
              MERRIAM-WEBSTER’S COLLEGIATE DICTIONARY media,                Upon information and belief, Sun’s Star7 (*7) was a prototype for
              medium (10th ed. 1996)                                        a SPARC based, handheld wireless PDA, with a 5" color LCD
              MICROSOFT PRESS COMPUTER DICTIONARY media,                    with touchscreen input, a new 16 bit --5:6:5 color hardware double
              medium (3d ed. 1997)                                          buffered NTSC framebuffer, 900MHz wireless networking,
                                                                            PCMCIA bus interfaces, multi-media audio codec, a new power
              U.S. Patent No. 6,529,903 to Smith et al., filed 12/26/2000
                                                                            supply/battery interface, a version of Unix that runs in under a
              U.S. Patent No. 7,650,330 to Brin, filed 12/15/2003           megabyte, including drivers for PCMCIA, radio networking,
              U.S. Patent No. 7,647,353 to Chandhok et al., filed           touchscreen, display, flash RAM file system, execute-in-place,
              11/14/2006                                                    split I/D cache, with cached framebuffer support, a new small,
              U.S. Patent No. 7,249,121 to Bharat et al., filed             safe, secure, distributed, robust, interpreted, garbage collected,
              12/05/2000                                                    multi-threaded, architecture neutral, high performance, dynamic
              U.S. Patent No. 7,146,358 to Gravano et al., filed            programming language, While the Star7 may have never entered
              08/28/2001                                                    commercial production, Oak, the language behind it all, became
              U.S. Patent No. 7,027,987 to Franz et al., filed 02/07/2001   the very popular Java programming language. See generally,
              U.S. Patent No. 6,839,702 to Patel et al., filed 12/13/2000   http://www.youtube.com/watch?v=Ahg8OBYixL0;
                                                                            http://www.helium.com/items/1101180-the-history-of-java;
              U.S. Patent No. 6,678,681 to Brin, filed 03/09/2000           https://duke.dev.java.net/green/; Todd Greanier, Java foundations
              U.S. Patent No. 6,735,624 to Rubin et al., filed              (Sep 17, 2004) at 2-3

JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT
                                                                                                                                                 15
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Claim Term      Oracle Proposed Construction & Supporting Evidence                Google Proposed Construction & Supporting Evidence
                04/07/2000                                                   (http://books.google.com/books?id=vbBXKgDJun0C&pg=PA2&l
                U.S. Patent No. 6,721,804 to Rubin et al., filed             pg=PA2&dq=sun+star7+gosling&source=bl&ots=LeQNYvs_DE
                11/15/2000                                                   &sig=IR3Wp6fNM58OFdyIzz3sEqgCTi4&hl=en&ei=d89eTaKS
                U.S. Patent No. 6,701,522 to Rubin et al., filed             EoKBlAeAtYCfDA&sa=X&oi=book_result&ct=result&resnum=
                04/07/2000                                                   8&ved=0CEgQ6AEwBw#v=onepage&q=sun%20star7%20goslin
                                                                             g&f=false).
                and similar patents and patent applications
                USPTO Examination Guidelines for Computer-Related
                Inventions (1996)
reduced class   No construction necessary. A “reduced class file” contains   a class file containing a subset of the data and instructions
file            a subset of the code and data contained in a class file      contained in a corresponding original class file
(‘702 patent)   Intrinsic Evidence:                                          Intrinsic/Extrinsic Evidence:
                Specification:                                               ‘702 patent at Abstract; 4:64-5:27; 9: 35-43; 9:55-65; 10:2-15;
                Abstract; 4:64-5:5; 5:15-17; 5:23-27; 9:35-43; 9:55-65;      Figs. 4-5; and claims 11-41.
                10:2-15; Fig. 4
computer-       a storage device for use by a computer                       any medium that participates in providing instructions to a
readable        Intrinsic Evidence:                                          processor for execution, including but not limited to, optical or
storage         Specification:                                               magnetic disks, dynamic memory, coaxial cables, copper wire,
medium                                                                       fiber optics, acoustic or light waves, radio-waves and infra-red
                4:24-46; 5:48-50; original claim 23; Fig. 1; Fig. 2
(‘720 patent)                                                                data communications
                Extrinsic Evidence:
                                                                             Intrinsic/Extrinsic Evidence:
                DICTIONARY OF COMPUTER AND INTERNET TERMS media,
                                                                             ‘520 patent at 4:48-54.
                medium (7th ed. 2000)
                                                                             ‘447 patent at 4:58-65; 5:4-6:16; Fig. 1.
                DICTIONARY OF COMPUTING data medium, medium
                (1983)                                                       ‘476 patent at 4:57-66; 5:4-6:18; Fig. 1.
                HARPER COLLINS DICTIONARY OF COMPUTER TERMS                  ‘702 patent at 2:62-4:60; 5:61-6:20; 6:37-7:18; Figs. 1, 2.
                medium (1991)                                                ‘205 patent at 4:38-54; Fig. 1.
                IBM DICTIONARY OF COMPUTING data medium, machine-            U.S. Patent 6,829,761, at 5:63-6:33.
                readable, machine-readable medium, medium (1994)             See also, other patents issued to Sun/Oracle that claim, define or
                THE IEEE STANDARD DICTIONARY OF ELECTRICAL AND               otherwise describe “computer-readable storage medium” or similar
                ELECTRONICS TERMS machine-readable medium, media,            related phrases (http://patft.uspto.gov/netacgi/nph-
                medium (6th ed. 1996)                                        Parser?Sect1=PTO2&Sect2=HITOFF&u=/netahtml/PTO/search-
                THE ILLUSTRATED DICTIONARY OF ELECTRONICS                    adv.htm&r=0&p=1&f=S&l=50&Query=AN/Sun+and+%22compu
                medium (7th ed. 1997)                                        ter-readable+storage+medium%22&d=PTXT). For example:

JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT
                                                                                                                                                  16
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                          Case 3:10-cv-03561-WHA Document 91 Filed 02/22/11 Page 18 of 26




Claim Term    Oracle Proposed Construction & Supporting Evidence                 Google Proposed Construction & Supporting Evidence
              THE ILLUSTRATED DICTIONARY OF MICROCOMPUTERS                  U.S. Patents Nos. 5,953,522; 5,946,489; 5,970,249; 5,978,588;
              media, medium (3d ed. 1990)                                   5,983,021; 6,115,715; 6,853,868; 6,272,517; 6,271,838;
              MCGRAW-HILL DICTIONARY OF SCIENTIFIC AND                      6,542,920; 6,938,085; 6,983,455; 6,499,049; 6,952,760;
              TECHNICAL TERMS medium (5th ed. 1994)                         6,980,916; 7,278,132; 5,630,136; 5,659,758; 7,213,240;
              MERRIAM-WEBSTER’S COLLEGIATE DICTIONARY media,                6,047,377; 6,044,467.
              medium (10th ed. 1996)                                        Upon information and belief, Sun’s Star7 (*7) was a prototype for
              MICROSOFT PRESS COMPUTER DICTIONARY media,                    a SPARC based, handheld wireless PDA, with a 5" color LCD
              medium (3d ed. 1997)                                          with touchscreen input, a new 16 bit --5:6:5 color hardware double
                                                                            buffered NTSC framebuffer, 900MHz wireless networking,
              U.S. Patent No. 6,529,903 to Smith et al., filed 12/26/2000
                                                                            PCMCIA bus interfaces, multi-media audio codec, a new power
              U.S. Patent No. 7,650,330 to Brin, filed 12/15/2003           supply/battery interface, a version of Unix that runs in under a
              U.S. Patent No. 7,647,353 to Chandhok et al., filed           megabyte, including drivers for PCMCIA, radio networking,
              11/14/2006                                                    touchscreen, display, flash RAM file system, execute-in-place,
              U.S. Patent No. 7,249,121 to Bharat et al., filed             split I/D cache, with cached framebuffer support, a new small,
              12/05/2000                                                    safe, secure, distributed, robust, interpreted, garbage collected,
              U.S. Patent No. 7,146,358 to Gravano et al., filed            multi-threaded, architecture neutral, high performance, dynamic
              08/28/2001                                                    programming language, While the Star7 may have never entered
              U.S. Patent No. 7,027,987 to Franz et al., filed 02/07/2001   commercial production, Oak, the language behind it all, became
              U.S. Patent No. 6,839,702 to Patel et al., filed 12/13/2000   the very popular Java programming language. See generally,
                                                                            http://www.youtube.com/watch?v=Ahg8OBYixL0;
              U.S. Patent No. 6,678,681 to Brin, filed 03/09/2000           http://www.helium.com/items/1101180-the-history-of-java;
              U.S. Patent No. 6,735,624 to Rubin et al., filed              https://duke.dev.java.net/green/; Todd Greanier, Java foundations
              04/07/2000                                                    (Sep 17, 2004) at 2-3
              U.S. Patent No. 6,721,804 to Rubin et al., filed              (http://books.google.com/books?id=vbBXKgDJun0C&pg=PA2&l
              11/15/2000                                                    pg=PA2&dq=sun+star7+gosling&source=bl&ots=LeQNYvs_DE
              U.S. Patent No. 6,701,522 to Rubin et al., filed              &sig=IR3Wp6fNM58OFdyIzz3sEqgCTi4&hl=en&ei=d89eTaKS
              04/07/2000                                                    EoKBlAeAtYCfDA&sa=X&oi=book_result&ct=result&resnum=
              and similar patents and patent applications                   8&ved=0CEgQ6AEwBw#v=onepage&q=sun%20star7%20goslin
              USPTO Examination Guidelines for Computer-Related             g&f=false).
              Inventions (1996)                                             M. J. Bach, The Design of the Unix Operating System, Bell
                                                                            Telephone Labs., Inc. (1986) (“Bach”) at chapters 1, 5, 7, 9 and
                                                                            13.




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                                                                Appendix B

                               Proposed Constructions and Evidence for Other Disputed Claim Terms

Claim Term        Oracle Proposed Construction & Supporting Evidence           Google Proposed Construction & Supporting Evidence
numeric(al)     No construction necessary. The ordinary meaning is “a        a static reference to data that is a number, i.e., not string- or
reference(s)    reference by location”                                       character-based
(‘104 patent)   Intrinsic Evidence:                                          Intrinsic/Extrinsic Evidence:
                Specification:                                               ‘104 patent at Abstract; 1:26-2:9; 2:35-59; 5:9-49; Figs. 1A, 6-
                Abstract; 1:29-32; 2:35-59; 5:9-49; Figs. 1A, 6, 7, 8        8; and claims 11-41.
                                                                             Computer Dictionary, Second Ed., Microsoft Press 1994
                                                                             (“MSFT 1994”):
                                                                             “Symbolic address A memory address that can be referred to
                                                                             in a program by name rather than by number. The interpreter,
                                                                             compiler, or assembler translates the name into the number
                                                                             that specifies the address.”
                                                                             Random House Webster’s Computer & Internet Dictionary
                                                                             (3d ed. 1999):
                                                                             “absolute address A fixed address in memory. The term
                                                                             absolute distinguishes it from a relative address, which
                                                                             indicates a location by specifying a distance from another
                                                                             location. Absolute addresses are also called real addresses
                                                                             and machine addresses.”
                                                                             Webster’s New World Dictionary of Computer Terms (5th ed.
                                                                             1994):
                                                                             “absolute addressing A method of machine addressing in
                                                                             which the address part of an instruction contains an absolute
                                                                             address.”
                                                                             “numeric Pertaining to numerals or to representation by
                                                                             means of numerals. Compare ALPHANUMERIC.”
                                                                             “numeric character Same as DIGIT.”
                                                                             “symbolic address An address, expressed in symbols
                                                                             convenient to the program writer, that must be translated into
                                                                             an absolute address (usually by an assembler) before it can be


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Claim Term        Oracle Proposed Construction & Supporting Evidence               Google Proposed Construction & Supporting Evidence
                                                                                 interpreted by a computer. Contrast with EXPLICIT
                                                                                 ADDRESS.”
                                                                                 “symbol table A list of names used in a program with brief
                                                                                 descriptions and storage addresses.”
runtime         No construction necessary. The ordinary meaning is “during       during execution of the virtual machine instructions
(‘205 patent)   execution of the virtual machine”                                Intrinsic/Extrinsic Evidence:
                Intrinsic Evidence:                                              ‘205 patent at 2:1-5; 2:35-49; 3:15-25; 5:50-57; 6:45-67; 7:23-
                Specification:                                                   57; 11:23-12:21; 13:3-26; and Figs. 4, 10, 13.
                2:37-40; 3:15-25; 5:50-57; 6:45-67; 7:23-57; 11:23-12:21;
                13:3-26; Figs. 4, 10, 13
protection      an object associated with a set of permissions that may be       an identification of a set of permissions granted to one or more
domain          granted to one or more principals                                principals, which include processes, objects, and threads
(‘447 and       Intrinsic Evidence:                                              Intrinsic/Extrinsic Evidence:
‘476 patents)   ‘476 specification:                                              ‘476 patent at 2:33-40; 3:11-21; 3:62-4:4; 6:4-43; 6:50-56;
                3:11-21; 3:62-4:4; 6:4-43; 6:50-56; 8:55-64; 9:65-10:46;         8:55-64; 9:65-10:46; 11:37-12:19; 12:37-64; 15:50-16:3; and
                11:37-12:19; 12:37-64; 15:50-16:3; Figs. 2, 3                    Figs. 2, 3.
                ‘447 specification:                                              ‘447 patent at Abstract; 2:23-31; 2:51-3:50; 3:60-62; 3:65-4:8;
                Abstract; 2:51-3:50; 3:60-62; 3:65-4:8; 8:40-49; 9:6-18; 9:38-   8:40-49; 9:6-18; 9:38-11:26; 11:34-39; Figs. 2, 4-6.
                11:26; 11:34-39; original claim 1; Figs. 2, 4, 5, 6              ‘476 prosecution history, Office Action mailed 08/25/1999,
                U.S. Patent No. 6,047,377 specification:                         pp. 3-8.
                3:53-63; 16:26-17:26; 17:55-64; Figs. 4, 6                       ‘476 prosecution history, Response mailed 11/19/1999, pp.
                                                                                 10-15.
                U.S. Patent No. 6,044,467 specification:
                                                                                 ‘447 prosecution history, Office Action mailed 09/25/1999,
                4:1-6; 6:64-7:2; 11:18-55; 12:30-33; 13:17-23; 14:49-15:24;
                                                                                 pp. 3-6.
                Figs. 2B, 3
                                                                                 ‘447 prosecution history, Response mailed 11/19/1999, pp. 9-
                ‘476 prosecution history:
                                                                                 14.
                November 19, 1999 Response
                                                                                 U.S. Patent No. 5,758,153, at 9:40-49, 11:17-27, 16:1, 18:14,
                ‘447 prosecution history:                                        12:25-29, 25:29-57.
                November 19, 1999 Response                                       U.S. Patent No. 5,845,129, at passim.
                Extrinsic Evidence:                                              U.S. Patent No. 5,649,099, at 7:64-8:13.
                OXFORD DICTIONARY OF COMPUTING protection domain (4th            Butler W. Lampson, “Protection,” Proc. 5th Princeton
                ed. 1996)                                                        Symposium on Information Sciences and Systems, reprinted

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Claim Term        Oracle Proposed Construction & Supporting Evidence             Google Proposed Construction & Supporting Evidence
                U.S. Patent No. 5,758,153 to Atsatt et al., filed 10/24/1995   in ACM Operating Systems Rev. 8, 1, Jan. 1974, pp. 18-24.
                                                                               Allen B. Tucker, editor, The Computer Science and
                                                                               Engineering Handbook, CRC Press, Inc., 1992, pp. 1914-27.
                                                                               Random House Webster’s Computer & Internet Dictionary
                                                                               (3d ed. 1999):
                                                                               “object Generally, any item that can be individually selected
                                                                               and manipulated. This can include shapes and pictures that
                                                                               appear on a display screen as well as less tangible software
                                                                               entities. In object-oriented programming, for example, an
                                                                               object is a self-contained entity that consists of both data and
                                                                               procedures to manipulate data.”
instruction     No construction necessary. The ordinary meaning is “code       a single constant pool entry
(‘520 patent)   that, when processed, causes an action”                        Intrinsic/Extrinsic Evidence:
                Intrinsic Evidence:                                            ‘520 patent at Abstract; 1:16-23; 1:61-3:30; 3:46-50; 3:54-
                Specification:                                                 4:18; 4:41-42; 4:45-48; 4:58-60; 6:1-20; 7:48-9:39; Fig. 3; and
                Abstract; 3:1-9; 3:15-16; 3:23-30; 3:46-50; 3:66-4:15; 4:41-   claims 1, 6, 9, 10, 12-14, 17, 18, 21, 22.
                42; 4:45-48; 6:3-20; 7:48-9:39; Fig. 3; Lindholm & Yellin,     The Java Virtual Machine Specification, Release 1.0 Beta,
                THE JAVA™ VIRTUAL MACHINE SPECIFICATION Sections               DRAFT, at §1.8 (GOOGLE–00376043-126):
                2.11, 3.8, 4.7 (1996) (available at                            “instruction (software). (1) A program statement that causes
                http://java.sun.com/docs/books/jvms/first_edition/html/VMSp    a computer to perform a particular operation or set of
                ecTOC.doc.html)                                                operations. (2) In a programming language, a meaningful
                                                                               expression that specifies one operation and identifies its
                                                                               operands.” IEEE Standard Dictionary of Electrical and
                                                                               Electronics Terms ANSI/IEEE Std. 1984 (“IEEE Std. 1984”)
                                                                               “instruction An action statement in any computer language
                                                                               (machine, assembly, high-level), although most often used
                                                                               with reference to assembly language programs. Most
                                                                               programs can be broken down into two types of statement:
                                                                               instructions and declarations. MSFT 1994.
                                                                               “1.8 The Java Instruction Set
                                                                               An instruction in the Java instruction set consists of a one-byte
                                                                               opcode specifying the operation to be performed, and zero or
                                                                               more operands supplying parameters or data that will be used


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Claim Term        Oracle Proposed Construction & Supporting Evidence                Google Proposed Construction & Supporting Evidence
                                                                                  by the operation. Many instructions have no operands and
                                                                                  consist only of an opcode.”
class file(s)   No construction necessary. A “class file” is a file in the Java   file containing data and instructions describing a single class
(‘702 patent)   class file format, defined by the Java Virtual Machine            of objects and structured to be read by a program linker and/or
                Specification.                                                    loader
                Intrinsic Evidence:                                               Intrinsic/Extrinsic Evidence:
                Specification:                                                    ‘702 patent at Abstract; 1:29-48; 2:62-3:15; 3:18-4:60; 4:64-
                Title; Abstract; 1:29-48; 2:62-3:15; 3:18-4:60; 4:64-5:28;        5:28; 7:20-9:7; 9:10-10:51; 11:25-43:67; 44:4-11; 46:9-47;
                7:20-9:7; 9:10-10:51; 11:25-43:67; 46:9-47; 48:15-36; Figs. 1     48:15-36; Figs. 1, 3-5; and claims 3, 15.
                and 3-5                                                           The Java Virtual Machine Specification, Release 1.0 Beta,
                                                                                  DRAFT, at §2 (GOOGLE-00376043-126):
                                                                                  “2 Class File Format
                                                                                  This chapter documents the Java class (.class) file format.
                                                                                  Each class file contains the compiled version of either a Java
                                                                                  class or a Java interface. Compliant Java interpreters must be
                                                                                  capable of dealing with all class files that conform to the
                                                                                  following specification.
                                                                                  A Java class file consists of a stream of 8-bit bytes. All 16-bit
                                                                                  and 32-bit quantities are constructed by reading in two or four
                                                                                  8-bit bytes, respectively. The bytes are joined together in
                                                                                  network (big-endian) order, where the high bytes come first.
                                                                                  This format is supported by the Java java.io.DataInput and
                                                                                  java.io.DataOutput interfaces, and classes such as
                                                                                  java.io.DataInputStream and java.io.DataOutputStream.
                                                                                  The class file format is described here using a structure
                                                                                  notation. Successive fields in the structure appear in the
                                                                                  external representation without padding or alignment. Variable
                                                                                  size arrays, often of variable sized elements are called tables
                                                                                  and are commonplace in these structures.
                                                                                  The types u1, u2, and u4 mean an unsigned one-, two-, or
                                                                                  four-byte quantity, respectively, which are read by method
                                                                                  such as readUnsignedByte, readUnsignedShort and readInt of
                                                                                  the java.io.DataInput interface.


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Claim Term        Oracle Proposed Construction & Supporting Evidence             Google Proposed Construction & Supporting Evidence
                                                                               2.1 Format




                                                                               …”
child runtime   a virtual machine cloned from another virtual machine          an instance of a program in execution which clones the
system          Intrinsic Evidence:                                            memory space of a master runtime system process
process         Specification:                                                 Intrinsic/Extrinsic Evidence:
(‘720 patent)   2:44-51; 3:6-10; 3:27-32; 4:24-5:6; 5:14-40; 7:51-8:8; 9:10-   ‘720 patent at 2:44-51; 3:6-10; 3:27-32; 4:24-5:6; 5:14-40;
                27; original claim 11; Figs. 1-5B, 9                           7:8-14; 7:27-33; 7:51-8:8; 8:11-20;9:10-27; Figs. 1-6.
                                                                               Oracle Reference Glossary
                                                                               (http://java.sun.com/docs/glossary.html):
                                                                               “runtime system The software environment in which
                                                                               programs compiled for the Java virtual machine can run. The
                                                                               runtime system includes all the code necessary to load
                                                                               programs written in the Java programming language,
                                                                               dynamically link native methods, manage memory, handle
                                                                               exceptions, and an implementation of the Java virtual
                                                                               machine, which may be a Java interpreter.”
                                                                               M. J. Bach, The Design of the Unix Operating System, Bell
                                                                               Telephone Labs., Inc. (1986) (“Bach”) at chapters 1, 5, 7 and
                                                                               9.
                                                                               S. Srinivasan, Advanced Perl Programming at 194-95 (1997).



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Claim Term         Oracle Proposed Construction & Supporting Evidence                  Google Proposed Construction & Supporting Evidence
class resolver   software, such as a class loader, that resolves a class             Indefinite – cannot be construed
(‘720 patent)    Intrinsic Evidence:
                 Specification:
                 6:55-60; 8:47-50; 9:38-60; Fig. 10
                 Extrinsic Evidence:
                 Gosling et al., THE JAVA™ APPLICATION PROGRAMMING
                 INTERFACE, VOLUME 1: CORE PACKAGES Section 1.4 Class
                 ClassLoader (1996).
                 Gosling et al., THE JAVA™ LANGUAGE SPECIFICATION 221
                 (1996) (“The binary representation of a class or interface
                 references other classes or interfaces and their fields, methods,
                 and constructors symbolically, using the binary names (§13.1)
                 of the other classes and interfaces (§13.1)…Before a symbolic
                 reference can be used it must undergo resolution, wherein a
                 symbolic reference is checked to be correct and, typically,
                 replaced with a direct reference that can be more efficiently
                 processed if the reference is used repeatedly.”)
                 Lindholm & Yellin, THE JAVA™ VIRTUAL MACHINE
                 SPECIFICATION Section 2.17.3 (2d ed. 1999) (“Before a
                 symbolic reference can be used it must undergo resolution,
                 wherein a symbolic reference is validated and, typically,
                 replaced with a direct reference that can be more efficiently
                 processed if the reference is used repeatedly.”)
                 Lindholm & Yellin, THE JAVA™ VIRTUAL MACHINE
                 SPECIFICATION Section 5.4.3 (2d ed. 1999) (“The process of
                 dynamically determining concrete values from symbolic
                 references in the runtime constant pool is known as
                 resolution.”)
                 JAVA 2 PLATFORM SE V1.4.2 API SPECIFICATION Class
                 ClassLoader (“an object that is responsible for loading
                 classes.”) (available at
                 http://download.oracle.com/javase/1.4.2/docs/api/java/lang/Cl
                 assLoader.html)


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Claim Term        Oracle Proposed Construction & Supporting Evidence                  Google Proposed Construction & Supporting Evidence
master          a virtual machine from which other virtual machines are             an instance of a program in execution which interprets
runtime         cloned                                                              machine-portable code defining compatible applications
system          Intrinsic Evidence:                                                 Intrinsic/Extrinsic Evidence:
process         Specification:                                                      ‘720 patent at 2:44-51; 3:6-10; 3:27-32; 4:24-5:6; 5:14-40;
(‘720 patent)   2:44-51; 3:6-10; 4:24-53; 5:14-40; 7:8-14; 7:27-33; 7:51-55;        7:8-14; 7:27-33; 7:51-8:8; 8:11-20;9:10-27; Figs. 1-6.
                8:11-20; original claim 11; Figs. 1-6                               Oracle Reference Glossary
                                                                                    (http://java.sun.com/docs/glossary.html):
                                                                                    “runtime system The software environment in which
                                                                                    programs compiled for the Java virtual machine can run. The
                                                                                    runtime system includes all the code necessary to load
                                                                                    programs written in the Java programming language,
                                                                                    dynamically link native methods, manage memory, handle
                                                                                    exceptions, and an implementation of the Java virtual
                                                                                    machine, which may be a Java interpreter.”
                                                                                    M. J. Bach, The Design of the Unix Operating System, Bell
                                                                                    Telephone Labs., Inc. (1986) (“Bach”) at chapters 1, 5, 7 and
                                                                                    9.
                                                                                    S. Srinivasan, Advanced Perl Programming at 194-95 (1997).
resolving       validating symbolic references and, typically, replacing them       Indefinite – cannot be construed
(‘720 patent)   with direct references that can be more efficiently processed
                Intrinsic Evidence:
                Specification:
                6:55-60; 8:47-50; 9:38-60; Fig. 10
                Extrinsic Evidence:
                Gosling et al., THE JAVA™ APPLICATION PROGRAMMING
                INTERFACE, VOLUME 1: CORE PACKAGES Section 1.4 Class
                ClassLoader (1996).
                Gosling et al., THE JAVA™ LANGUAGE SPECIFICATION 221
                (1996) (“The binary representation of a class or interface
                references other classes or interfaces and their fields, methods,
                and constructors symbolically, using the binary names (§13.1)
                of the other classes and interfaces (§13.1)…Before a symbolic
                reference can be used it must undergo resolution, wherein a

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Claim Term         Oracle Proposed Construction & Supporting Evidence               Google Proposed Construction & Supporting Evidence
                symbolic reference is checked to be correct and, typically,
                replaced with a direct reference that can be more efficiently
                processed if the reference is used repeatedly.”)
                Lindholm & Yellin, THE JAVA™ VIRTUAL MACHINE
                SPECIFICATION Section 2.17.3 (2d ed. 1999) (“Before a
                symbolic reference can be used it must undergo resolution,
                wherein a symbolic reference is validated and, typically,
                replaced with a direct reference that can be more efficiently
                processed if the reference is used repeatedly.”)
                Lindholm & Yellin, THE JAVA™ VIRTUAL MACHINE
                SPECIFICATION Section 5.4.3 (2d ed. 1999) (“The process of
                dynamically determining concrete values from symbolic
                references in the runtime constant pool is known as
                resolution.”)
                JAVA 2 PLATFORM SE V1.4.2 API SPECIFICATION Class
                ClassLoader (“an object that is responsible for loading
                classes.”) (available at
                http://download.oracle.com/javase/1.4.2/docs/api/java/lang/Cl
                assLoader.html)
class           This claim term was not prioritized by Google until late in the   a program for dynamically loading and initializing a class
preloader       meet-and-confer process and the parties agreed that Oracle        definition from an individual class file prior to the first
(‘720 patent)   shall have additional time to provide its proposed construction   reference to that class by a program
                and supporting evidence to Google. The parties expect to          Intrinsic/Extrinsic Evidence
                continue conferring in good faith regarding this and other
                disputed claim terms.                                             ‘720 patent at Abstract; 1:8-11; 2:27-40; 2:44-3:40; 3:59-62;
                                                                                  5:7-6:67; 8:9-36; 9:29-67; Figs. 2, 6, 10; claims 1; 10; 20.
                                                                                  U.S. Patent No. 6,405,367, at 2:46-48, 6:66-7:14.
                                                                                  U.S. Patent No. 6,738,977, at 8:6-9, 6:23-38.
                                                                                  New IBM Technology feature Persistent Reusable Java Virtual
                                                                                  Machines, 1 (2001).
                                                                                  U.S. Patent No. 6,823,509, at 4:26-41.



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